     Case 2:22-cr-00212-RGK Document 1 Filed 05/17/22 Page 1 of 42 Page ID #:1




 1 PAULINE CLAY HUNTER                                                   a, ,4 E ,~ ,g ,~..1
   645 W.Ninth Street, Unit 110-239                                Z~'-~ ~ ~f~ ~ ~ ~ _~~ 'iJ- ~. ~3
 2 Los Angeles, California 90015                                 ~ i.;, , , :, .,                ,
 3 Defendant In: Pro Per                                          ,.:r . •.                  . ,.

4                                                               :`:
                      UNITED STATES DISTRICT COURT
 5
6                FOR THE CENTRAL DISTRICT OF CALIFORNIA

                                                                                                      _~Z~r~
                                                                `~ ~                       O O 2 I
 8 THE PEOPLE OF THE STATE                          CASE AFO: ~'
 9 OF CALIFORNIA,
                                                       California Superior Court, County
l0                             Plaintiff.              of Los Angeles Case No.:
11                                                     BA453787
                    vs.
12                                                     NOTICE OF REMOVAL OF
13 PAULINE CLAY HUNTER                                 STATE CRIMINAL
                                                       PROSECUTION OF PAULINE
14                         Defendant.                  HUNTER PURSUANT TO 28
15                                                     USC 1442, 1443 AND 1455 AND
                                                       REQUESTING ANSWERS TO
16                                                     FEDERAL QUESTIONS
1~                                                     PURSUANT TO 28 USC 1331
                                                       AND REQUEST FOR LEAVE
1g                                                     TO FILE AFTER
19                                                     ARRAIGNMENT

20

21

22

23

24    TO CENTRAL DISTRICT COURT OF THE UNITED STATES AND THE
25
                   LOS ANGELES COUNTY SUPERIOR COURT:
26
27 PLEASE TAKE NOTICE that pursuant to the provisions of 28 U.S.C. §§ 1442,

28 1443, and 1455, Defendant PAULINE CLAY HUNTER, erroneously named
                                    t
              NOTICE OF REMOVAL OF STATE CRIMINAL PROSECUTION BY DEFENDANT PAULINE HUNTER
Case 2:22-cr-00212-RGK Document 1 Filed 05/17/22 Page 2 of 42 Page ID #:2




1            Hunter, hereby submits the following notice of removal of the
2
        Toned state criminal prosecution, together with a copy of all pleadings,
3

4       orders served upon Defendant. Defendant hereby submits the following

5      removal of the above-captioned state criminal prosecution, signed puxsuant
6
          11 of the Federal Rules ofProcedure, together with a copy of all
7
8             and orders served upon Defendant.

9         This notice will be based upon this notice; the short and plain
10
     setting forth the grounds for removal attached hereto, the attached pleadings
11
12          for which this Court is respectfully requested to take judicial notice,
13 such other evidence that maybe received at an evidentiary hearing.

14
          Pursuant to 28 U.SC1455,subdivision (b), Ms. Hunter respectfully
15
16 requests leave tofile this notice ofremoval more than 30 days after her
17
                  The gr.oundsfor this request shall be setforth below.
18
19
20          May 16,2022                          Respectfully submitted,
21
Za                                        By:                                         _
                                                 PAULINE C; .             ~t,         -
23
24
25
26
27
28

                    OF REMOVAL OF STATE               BY DEFENDArfT PAUWIVE HUNTETi
     Case 2:22-cr-00212-RGK Document 1 Filed 05/17/22 Page 3 of 42 Page ID #:3




 1                                  GROUNDS FOR RELIEF
2
                                                   I.
3                                         JURISDICTION
4
           1.     Jurisdiction is conferred on this Court pursuant to the provisions of 28
5

6    U.S.0 §§ 1442 and 1443. Section 1442 authorizes the removal to federal court of a
7
     state criminal prosecution commenced against any officer of the courts of the
8
     United States, for or relating to any act under color of office or in the performance
9

10 of her duties; Section 1443 authorizes removal to federal court of a state criminal

11
     prosecution:(1) Against any person who is denied or cannot enforce in the courts
12
     of such State a right under any law providing for the equal civil rights of citizens of~
13

14 the United States, or of all persons within the jurisdiction thereof;(2) For any act

15
           color of authority derived from any- law providing for equal rights, or for
16

17
          ing to do any act on the ground that it would be inconsistent with such law.

18                                               II.
19
                                               VENUE

20         2.      Venue is proper in the Central District Court of California pursuant

21    .S.C. §1455 because the criminal prosecution is pending in the Los Angeles
22
     Superior Court for the State of California.
23

24                                              III.
                                              PARTIES
25
           3.      Defendant PAULINE CLAY HUNTER("Ms. Hunter") is an elderly
26

27 individual, who was an appointed federal officer residing in Los Angeles within

28
                                                    3
                NOTICE OF REMOVAL OF STATE CRIMINAL PROSECUTION BY DEFENDANT PAULINE HUNTER
     Case 2:22-cr-00212-RGK Document 1 Filed 05/17/22 Page 4 of 42 Page ID #:4




1        provision of section 1442 and authorized to remove state prosecution
2
                   against her for any act under the color of such office at the
3

4 commencement ofthe
                     herein mentioned case from which these Federal questions

5 ~~

6
            4.     Ms. Hunter was appointed by the Central District Court for the United
7

8 States to serve as a guardian-ad-litem("GAL") in a civil rights
                                                                  action on March

9 31, 2014. A true and correct copy of the Court order appointing Ms. Hunter as the

10
      Minors GAL is attached hereto and marked as Exhibit 1.
11

12          s.     Tal Kahana, Los Angeles County Deputy District Attorney
13
     ("Prosecutor") is the California State Agency that commenced a criminal
14
         secution against Ms. Hunter in the Los Angeles County Superior Court in the
15

16 case entitled People ofthe State ofCalifornia v Pauline Hunter (Case No.

17
     BA453787). A true and correct copy of the Felony Complaint for Arrest Warrant
18

19
      is attached hereto and marked as Exhibit 2.

20          6.      The Los Angeles Superior Court located at 211 Temple St.
21
                   121 presided by the Honorable Richard S. Kemalyan is the California
22

23 Superior Court wherein the
                              criminal prosecution was commenced against Ms.

24 Hunter.

25
                                           IV.
26                                 GENERAL ALLEGATIONS
27                         "Civil Rights Action GAL Appointment"
28
                                                     n
                                                       r
                 NOTICE OF REMOVAL OF STATE CRIMINAL PROSECUTION BY DEFENDANT PAULINE HUNTER
     Case 2:22-cr-00212-RGK Document 1 Filed 05/17/22 Page 5 of 42 Page ID #:5




 1        ~.       On April 2, 2014, Minors commenced a civil rights action .
2
          8.       Ms. Hunter submitted an application for the appointment as GAL
3

4
               to Federal Rules ofCivil Procedure, Rule 17(c) and California Code of

5 Civil Procedure Section 373 to bring a civil rights action under 42 U.S.C. § 1983.
6
       true and correct copy ofthe Application for Appointment as GAL is attached
7
8          and marked as Exhibit 1.

9         9.       On March 31, 2014, Hon. United States Magistrate Judge, Michael R.
10
     Wilner, ordered that Ms. Hunter be appointed GAL. Notably, Ms Hunter is in good
11
12 standing and is eligible to serve. A taste and correct copy of the Court order
13 appointing Ms. Hunter as GAL is attached hereto and marked as Exhibit 1.
14
15
           l0.       On Apri128, 2014, the Superior Court reviewed all Ms. Hunter's
16
17 submissions and evaluated her training, background, qualifications and character.
18
       the conclusion of the hearing ordered the children released forthwith and
19
              granted Ms. Hunter's custody petition.
20 implicitly
21          11. On March 3, 2016, Ms. Hunter was illegally arrested from the
22
     courtroom of Department 77 at the Stanley Mosk Courthouse while performing her
23
                                                         3509(h)(2). Ms. Hunter
24 duties as the Guardian Ad Litem pursuant to 18 U.S.C.
25             ing on an action that was brought by one of defendants to the federal civil
26
           action.
27
28              12. The California DOJ claimed to be executing a juvenile dependency
                                                     5
                 NOTICE OF REMOVAL OF STATE CRIMINAL PROSECUTION BY DEFENDANT PAULINE HUNTER
     Case 2:22-cr-00212-RGK Document 1 Filed 05/17/22 Page 6 of 42 Page ID #:6




1            issued by another defendant to the federal civil rights action, During, the
2
     aforementioned illegal arrest, Ms. Hunter's valid identification and court issued
3

4 a
   uthorization documentation were confiscated. Importantly, Ms. Hunter was

5    performing duties as a federally appointed officer of the court when the state
6
     criminal prosecution commenced against her thereby conferring jurisdiction to this
7

8 Court pursuant to the provisions of 28 U.S.0 §§
                                                  1442. Notably, Ms. Hunter filed

9       injunctive relief from these unconstitutional warrants issued against her in both
10
        Los Angeles Superior Court case # BC580327 and Federal District Court case
11

12    8: 16- OR-0007 JAK-1, Ninth Circuit Appeal case # 16-55763.
13
          13. Ms. Hunter's illegal arrest out the Los Angeles Superior Court denied
14
        the right to perform her duties as GAL in violation 18 USC 1503 and 18 USC
15

16   1509), interfered with a federal officer in performing her duties and denied her
17
           capacity to participate in court which violates the law providing for the
18
     equal civil rights of citizens of the United States pursuant to 28 USC 1443(1) and
19

20 28 USC 1443 (2).

21
           14.     After the illegal arrest out the Los Angeles Superior Court, Ms. Hun
22

23
     was transported to the Orange County jail and then brought before Defendant to

24      federal civil rights action, dependency court commissioner. The Defendant
25
     demanded disclosure of the whereabouts of the minors Ms. Hunter exercised her
26

27 Fifth
         Amendment privilege and invoked her federal immunity pursuant to 18

28 U.S.0 3509 (h)(3), a provision that was supposed to protect her from being
                                                     6
                 NOTICE OF REMOVAL OF STATE CRIMINAL PROSECUTION BY DEFENDANT PAULINE HUNTER
     Case 2:22-cr-00212-RGK Document 1 Filed 05/17/22 Page 7 of 42 Page ID #:7




1    compelled to answer such a question. The state court responded with imprisoning
2
        . Hunter under its coercive civil contempt power where she remained
3

4 imprisoned for a year
                        under the civil contempt order despite filing numerous writ

5       itions at every level ofthe state court, including Orange County criminal case
6
     number 15CF0486, California Supreme Court S237739, California Court of
7

8            G054079. Consequently, after Ms. Hunter exhausted at the state she filed a
9
     Federal Habeas Corpus (District case number SACV 17-00671 JAK).
10

11
                        "A Guardian Ad Litem Is An Officer Of The Court"

12
          15. "A guardian ad litem is appointed as representative ofcourt to act for
13

14 minor in a cause, with authority to engage counsel, file suit and to prosecute,

15
     control and direct litigation, and as officer ofthe court guardian ad litem has full
16
             ibility to assist the court to secure the just, speedy and inexpensive
17

18          ination of action." Fong Sik Leung v. Dulles, C.A.9(Cal.) 1955, 226 F.2d
19

20
     (Emphasis Added)."The guardian ad litem is but an officer of the court." Cole v.

21             Court, 63 Cal. 86, 89(1883).(Emphasis Added). The purpose of the
22
     federal officer removal statute "was to take away from the state court the
23

24            ble power to hold an officer or agent of United States criminally or civilly

25 liable for an act allegedly performed in execution of any of powers or

26
       sponsibilities of federal sovereign..." State of N. C. v. Carr, C.A.4(N.C.) 1967,

28 1 1386 F.2d 129. As a result,"congressional
27                                             determination that federal officers and
                                                     7
                NOTICE OF REMOVAL OF STATE CRIMINAL PROSECUTION BY DEFENDANT PAULIN~,HUN"1~K
       Case 2:22-cr-00212-RGK Document 1 Filed 05/17/22 Page 8 of 42 Page ID #:8




 1            government itself require protection of federal forum should not be
 2
       Frustrated by a narrow, grudging interpretation..." of the removal statute.
 3

4      Willingham v. Morgan, U.S.Kan.1969, 89 S.Ct. 1813, 395 U.S. 402, 23 L.Ed.2d

 5     396, on remand 424 F.2d 200. See, also, Williams v. Brantley, W.D.N.Y.1980,492 ~
 6
       F.Supp. 925, affirmed 738 F.2d 419; Davenport v. Borders, D.C.Ga.1979,480
 7

 8       Supp. 903; Dixon v. Georgia Indigent Legal Services, Inc., D.C.Ga.1975, 388

 9 F.Supp. 1156, affirmed 532 F.2d 1373. Accordingly, the Federal Officer Removal

10
       Statute must be liberally construed. Van Horn v. Arkansas Blue Cross and Blue
11

12 Shield, E.D.Ark.2007, 629 F.Supp.2d 905. Indeed, the Supreme Court "has

13 I
       mandated a generous interpretation ofthe federal officer removal statute...."
14
                v. Lockheed Martin CoYp.(9th Cir. 2006)445 F.3d 1247, 1252.
15

16
               16. The appointment of a GAL is more than a mere formalism. U.S. v.
17

18
        0.64 Acres ofLand, More or Less, Situated in Klickitat County, State of Wash.

19 (9th Cir. 1986)795 F.2d 796, 805. A GAL is authorized to act on behalf of his

20
            and may make all appropriate decisions in the course of specific litigation,
21

22 including entering into binding contracts for the retention of counsel and expert

23 witnesses and may settle the claim on behalf of his ward. Id. "As an officer of the

24
       court, the guardian ad litem has full responsibility to assist the court to secure a
25

26 just, speedy and inexpensive determination of the action." Noe v. True, 507 F.2d 9,

27
       12(6th Cir.1974)(per curiam)(quoting Fong Sik Leung v. Dulles, 226 F.2d 74,82
28

                 NOTICE OF REMOVAL OF STATE CRIMINAL PROSECUTION BY DEFENDANT PAULINE HUNTER
Case 2:22-cr-00212-RGK Document 1 Filed 05/17/22 Page 9 of 42 Page ID #:9




 1 (9th Cir.1955)(Boldt, D.J., concurring).

2
             17. Moreover, a GAL's power is not unchecked. Throughout the
3

4 litigati
           on, a GAL acts under the court's supervision and is an officer of the court.

5      lson v. ColgatePalmolive Co., 199 F.3d 642,652(2d Cir.1999); Dacanay v.
6
          oza,573 F.2d 1075, 1079(9th Cir.1978)."[E]very step in the proceeding
7

8          under the aegis of the court." Dacanay,573 F.2d at 1079. For example,

9     though a GAL "may negotiate a proposed compromise to be referred to the
10
       cannot render such a compromise effective merely by giving his consent.... It is ~
11

12      court's order approving the settlement that vests the guardian ad litem with the

13
         power to enforce the agreement."Id. (citations omitted). The court can also
14
            or replace the guardian ad litem if he or she does not properly represent
15

16      's interests. Neilson, 199 F.3d at 652(citing Hull By Hull v. United States, 53
17
     .3d 1125, 1127 n. 1 (10th Cir.1995), and Garrick v. Weaver, 888 F.2d 687,693
18

19   l Oth Cir.1989). This may be necessary ifthe guardian ad litem faces a conflict of

20 interest. See, e.g., Z.A.'ex rel. KA. v. St. Helena Unified Sch. Dist., No. 09-03557,

21
       10 ~I.370333, at *4(N.D.CaI. Jan. 25, 2010.
22

23         18. Federal Rules ofCivil Procedure, Rule 17(c) provides that a court
24
     appoint a GAL to protect a minor if the minor does not have a general guardian.
25
     Under 18 U.S.C. Section 3509 (h), a GAL "shall be presumed to be acting in good
26

27 faith and shall be immune from civil and criminal liability for complying with the

28
                                                   9
               NOTICE OF REMOVAL OF STATE CRIMINAL PROSECUTION BY DEFENDANT PAULINE HUNTER
     Case 2:22-cr-00212-RGK Document 1 Filed 05/17/22 Page 10 of 42 Page ID #:10




 1     guardian's lawful duties.
2
                 19. As GAL, Ms. Hunter is an appointed "officer" ofthe United States
3
                   a
4 Court pursuant to federal
                            law designed to protect and guarantee children have

5      equal rights to bring civil rights claims. Moreover, Ms. Hunter has Supremacy
6
       Clause immunity against claims brought against for performing acts in the capacity
7I

 8     as a GAL. See 18 U.S.C. 3509(h)(3).

9                20. Since March 31, 2014 has represented minors in all levels of courts,
10
            Hunter has discharged her duties as a Federal GAL in a manner that does not
11

12      iolate federal law or statutes. The state may not impose criminal penalties on a
13
       (federal officer for conduct that is concededly within his or her federal authority.
14
                it is federal jurisdiction that determines whether the officer has exceeded
15

16             ofthat authority in any particular situation.
17
                             "Criminal Case in Los Angeles County"
18

191
                 21. Upon information and belief, the Orange County District Attorney
20 ~

21      contacted the child abduction unit of the Los Angeles County District Attorney,

22          .pting filing of criminal charges against Ms. Hunter in retaliation for her
23
       actions in performing her duties as GAL.
24

25               22. Upon information and belief, the Offices of the Orange County

26 District Attorney and Los Angeles District Attorney intentionally colluded in filing

27
        the underlying criminal case in the Los Angeles Superior Court for perjury on or
28
                                                      10
                  NOTICE OF REMOVAL OF STATE CRIMINAL PROSECUTION BY DEFENDANT PAULINE HUNTER
     Case 2:22-cr-00212-RGK Document 1 Filed 05/17/22 Page 11 of 42 Page ID #:11




1     about January 19, 2017. See Exhibit 2.
2
             23. Incidentally, while being held on alleged civil contempt in county jail
3

4 on or about January 20, 2017,6 months
                                        after being remanded to county jail after

5          king immunity pursuant to 18 USC 3509(h)(2) and 10 months after her first
6
      illegal arrest on March 3,2016,), Ms. Hunter was served an "850 penal code
7

8 advisement fora 118(a) perjury charge" that is related to the herein case.

9
              24. In addition to retaliating against Ms. Hunter for performing her duties as ~
10

11           under FRCP 17, a primary motivating factor in filing the underlying criminal ~

12          was animus toward Ms. Hunter acting under the color of authority to ensure
13
           equal rights of her wards pursuant to law.
14

15           25. On September 14, 2017, The Los Angeles District Attorney, Tal

16             filed a Felony Information in the Los Angeles Criminal Case alleging
17
      Seven(6)Counts of perjury on a DMV form. Notably, the dates of the allegation
18

19 counts range from September 15, 2003(13 years 4 months before the alleged

20
       January 20,2017 request for arrest warrant date) to May 22,2014(2 years 7
21
               before the alleged January 20, 2017 request for arrest warrant date).
22

23 Interestingly, if calculated from the case filing 9/1/2017 or the date ofthe+

24
       information filing September 14, 2017 none of the charges have been filed within
25

26
       the statute oflimitation pursuant to California law which the California state

27 legislature has set the statute of limitations for perjury at 3 years. However, even if

28
                                                      11
                  NOTICE OF REMOVAL OF STATE CRIMINAL PROSECUTION BY DEFENDANT PAULINE HUNTER


     ~ ~
          Case 2:22-cr-00212-RGK Document 1 Filed 05/17/22 Page 12 of 42 Page ID #:12




      1        January 20, 2017 date is used four(4) of the six (6)counts are clearly beyond
      2
               legal statute by any calculation. As for the remaining two(2) alleged counts
      3

     4 dated Maxch
                   2014 and May 2014,they fall within the time frame of Ms. Hunter

      5 serving as a federal GAL. Moreover, it was this valid identification which was
     6
            confiscated from her while performing as GAL at the time of her illegal arrest
      7

      8     ~ Stanley Mosk Courtroom. Importantly, Ms. Hunter's possession of valid

      9                   was necessary to perform as a federal officer. Moreover, Ms. Hunter
     10
                a legal obligation and a right to maintain identification as an officer of the
     11

     12 federal court. Further, Ms. Hunter's identification is the basis for the charges

     13
            against her in the Los Angeles County Superior Court. Finally, the California
__   14 I
            Deparhnent of Motor Vehicles had not suspended or revoked Ms. Hunter's
     15

     16                   nor had they noticed her of any issue or concern. Moreover, both
     17
             ederal Social Security Administration and the California DMV has confirmed the
     18
               idity of her identification as a result Mrs. Hunter continued to maintain valid
     19

     20 identification issued by the California DMV until Mr.Ed Castellon's involvement.

     21
                   26. However, on January 19, 2017 Ed Castellon, DMV investigation officer
     22

     23
            signed under penalty of perjury a Declaration for Bail Deviation requesting a

     24 deviation from the felony bail schedule and that bail should be fixed at $180,000.

     25
            Mr. Castellon, DMV investigator further falsely asserted that Ms. Hunter was
     r~.i
     27 "wanted
                for federal weapons investigation by the DOJ." He goes on to falsely

     28 characterize Ms. Hunter as a "probable scam artist" and further "with no ties to the
                                                          t2
                      NOTICE OF REMOVAL OF STATE CRIMINAL PROSECUTION BY DEFENDANT PAULINE HUNTER
     Case 2:22-cr-00212-RGK Document 1 Filed 05/17/22 Page 13 of 42 Page ID #:13




1      community,job or address." Notably, at the time Mr. Castellon, DMV investigator ~
2
       submitted this declaration, Ms. Hunter was being illegally held on contempt
3

4              Moreover, it is not signed by a judge. the A true and correct copy ofthe

5                  for Bail Deviation is attached hereto and marked as Exhibit 3.
6
              27. Ultimately, the bail was $100,000.Ms. Hunter posted bail on 7/17/17 as
7

8 she had been transferred from Orange County
                                              Jail(one year on contempt

9 charges /no bail) to Los Angeles Jail. However, this amount is not in line with the

10
       Felony Bail Schedule from the Superior Court of California, County of Los
11

12 Angeles which shows a $25,000 amount. Further troubling are Mr. Castellon's

13
       calculations which are overly inflated.
14
              28. Most alarming, is the bail request is only signed by DA Tal Hanana and
151

16 the DMV investigator Ed Castellon. There isn't a Judge's signature on the form.

17 I
              29. The only causal nexus between Ms. Hunter and the charged offenses by
18
          Prosecutor, Tal Kahana is Ms. Hunter's performance of her duties as United
19

20 States Court officer pursuant to her appointment as a Federal GAL under Federal

21
             ofCivil Procedure, Rule 17(c).
22
              30. Upon information and belief, the Prosecutor, Tal Kahana commenced
23

24 the criminal prosecution against Ms. Hunter for the sole purpose of preventing her

25
       from performing her duties, under the color of authority as a federal agent,
26

27
                to federal law, enabling minors and incompetents to have equal access to

28 the United States Court system.
                                                     13
                 NOTICE OF REMOVAL OF STATE CRIMINAL PROSECUTION BY DEFENDANT PAULINE HUNTER
Case 2:22-cr-00212-RGK Document 1 Filed 05/17/22 Page 14 of 42 Page ID #:14




  1         31. Upon information and belief, the Prosecutor , Tal Kahana commenced
  2
      and continues the criminal prosecution against Ms. Hunter as a result of acts Ms.
  3

  4 Hunter
           performed in the capacity as GAL. Further, Ms. Hunter has a federal

  5         e against the charged offenses based on Supremacy Clause Immunity and
  6
         First Amendment. The First Amendment prohibits government officials from
  7

  8       ecting an individual to retaliatory actions, including criminal prosecutions, for

  9 speaking out. Crawford—El v. Britton, 523 U.S. 574, 592, 118 S.Ct. 1584, 140

 10
        Ed.2d 759. In this case, Ms. Hunter is suffering a retaliatory prosecution for
 11

 12       orming acts she was appointed by the Federal Court to perform and protecting
 13
          civil rights of minors.
 14
               32. "But for" Ms. Hunter's commission of acts under the color of
 15

 16 authority as a Court Officer for the United States District Court, the County of Los

 17
             s would not have commenced a felony criminal prosecution against Ms.
 18
        unter for perjury.
 19

 20           33. On February 23, 2018, Ms. Hunter filed a Motion of Removal to the
 21
       ederal Court pursuant to 28 USC 1442 and 1443. The State Court consequently
 22

 23
      (responded on February 23,2018 with a finding that the State Court no longer had

 24    urisdiction absent a remand. Further, the Court ordered the Proceedings in the
 25
             terminated pending further order of the Court. Moreover, the upon motion
 26

 27 ~of
        the Court cleared the calendar and exonerated the bail.

 28           34.On 6/4/19, Court issued bench warrant, then recalled that same warrant
                                                14
                 NOTICE OF REMOVAL OF STATE              BY DEFENDANT PAULINE
     Case 2:22-cr-00212-RGK Document 1 Filed 05/17/22 Page 15 of 42 Page ID #:15




 1       12/17/19 and recalled it again on 7/21/20. There were no warrants found in the
2
            Summary after this date. See Case Summary, Exhibit 4.
3

4             35. Ms. Hunter collapsed on Mothers Day May, 8th 2022 after suffering

5 injuries from realestate fraudsters attempting to steal real property. See case

6
            er 22STR001596.
7

8 '.          36. Ms. Hunter was released from California Hospital in downtown Los

9              on May 9~, 2022 where she was given a battery of tests to aid in
10
       diagnosing her ailments and documenting her injuries. She was found to be
11

12 COVID negative. After arrival at a private residence in downtown Los Angeles,

13
       plain-clothes officers who identified themselves as law enforcement from the
14
       California DMV arrested her claiming she had a warrant.
15

16            37. As of May 9"', 2022 until today, May 16t'', 2022, Ms. Hunter has been
17
           in what was characterized as "quarantine" during which time she has not been
18
       able to make contact with an attorney or be heard by a judge. She was not able to
19

20 make calls prior to Friday, May 13"' and has a $200K bail. County Health

21
           artment claims that no quarantine restrictions should be in effect and they have
22

23
                no guidelines nor mandates which would prompt the County Jail to take

24 such measures without seeking their recommendations. In effect, she has been

25
       kidnapped.
26

27

28
                                                     15
                 NOTICE OF REMOVAL OF STATE CRIMINAL PROSECUTION BY DEFENDANT PAULINE HUNTER
     Case 2:22-cr-00212-RGK Document 1 Filed 05/17/22 Page 16 of 42 Page ID #:16




 1
                                                  V.
2

3
                                     Federal Questions
4                              Pursuant to 28 USC 1331
5
      While 28 USC1447(d) states that the State Court can continue proceedings after
6     Removal up to conviction, However,in the case at bar, the State Court on Feb 23,
7     2018 upon the Court's own motion terminated the proceedings while the case was
      removed. Ultimately, the State Court's order coupled with the Petitioner's removal
8
      to Federal Court. Does pose a question as to waiver yet it appears there are other
9     flaws in State Courtjurisdiction For example the Appeals Court did not remand the
10    case. Further, the statute of limitations expired and Ms. Hunter did not waive time.
      Ultimately, the State Court had loss jurisdiction and there was no obligation of the
11
      Federal Court to assist in reestablishing jurisdiction. Let us now examine some
12    Federal Questions:
13
      1. Question-When a case is removed to Federal Court pursuant to 1442 and
14 1443 and the State Court terminates jurisdiction by its own Order, can the State

15
   Court assume jurisdiction without a remand? If so what is the time frame? Is there
    time frame with remand?
16
      2. Question-When a case is removed to Federal Court pursuant to 1442 and
17
   1443 and the State Court has terminated jurisdiction by its own Order, can it still
18 issue a warrant?

19
      3. Question-When a case is removed to Federal Court pursuant to 1442 and
20 1443 and the State Court terminates jurisdiction by its own Order, can they regain

21 jurisdiction to proceed? If so
                                  what is the time frame? What other factors are
   considered as to jurisdiction other than remand?
22

23
     4. Question-When a case is removed to Federal Court pursuant to 1442 and
   1443 and the State Court terminates jurisdiction by its own Order, does the State
24
   Court waive the provisions of 1447(d) to proceed after removal?
25
     5. Question-When a case is removed to Federal Court pursuant to 1442 and
26 1443 and the State Court terminates jurisdiction by its own Order, can the State

27 Court modify or rescind its own order after 60 days?

28      6. Question-When a case is removed to Federal Court pursuant to 1442 and
                                                    16
                NOTICE OF REMOVAL OF STATE CRIMINAL PROSECUTION BY DEFENDANT PAULINE HUNTER
     Case 2:22-cr-00212-RGK Document 1 Filed 05/17/22 Page 17 of 42 Page ID #:17




1 1443, is a Federal Officer obligated to appear in state court after removal when the
2 State Court has terminated all proceedings, exonerated the bail, removed all

3 hearings from its calendar and ordered termination of its own jurisdiction
                                                                              ?

4    7. Question-When a case is removed to Federal Court pursuant to 1442 and
5 1443 and the State Court terminates jurisdiction by its own Order, is a Federal
  Officer subject to prosecution by the State for alleged issues with their
6
  identification, when identification is necessary for them to perform their duties?
7
       8. Question-When a case is removed to Federal Court pursuant to 1442 and
8
   1443 and the State Court terminates jurisdiction by its own Order and Petitioner's
 9 statutorily guaranteed immunity underl8 USC 3509(h)(3) is violated, what forum

10 other than the Federal court might she use to
                                                 litigate the issue?

11    9. Question-When a case is removed to Federal Court pursuant to 1442 and
12 1443 and
            the State Court terminates its own jurisdiction, can a State Court
            a private attorney via US Mail a year after it issued such Order and then
13
   Order him to advise a Federal Officer to appear in State Court?
14
       10. Question-When a case is removed to Federal Court pursuant to 1442 and
15 1443 and the State Court terminates jurisdiction by its own Order in 2018, can it

16' overcome its own Order approximately 4 years later?

17    11. Question-When a case is removed to Federal Court pursuant to 1442 and
18 1443 and the State Court has terminated jurisdiction
                                                        by its own Order in February
   23, 2018 is Petitioner subject to warrant when she possess a bail exoneration
19
   receipt number?
20
       12. Is it constitutional for State Actors to serve a Federal Officer a Felony
21 '
     Complaint for Arrest Warrant unsigned by a judge while they are being illegally
22 held on contempt in violation of 18 USC 3509(h)(3)immunity?

23     13.Is it Constitutional for the State to arrest and detain a Petitioner 4 years and 2
24'. months after the State Court ordered the case terminated and loss jurisdiction?

25   14. Is it Constitutional for the State to deny Petitioner counsel claiming that
26 although she is Covid negative that she needs to
                                                       be quarantined?

27 I I 15. Is it Constitutional for the State to deny Petitioner counsel claiming that
28 although she is Covid negative that she needs to be quarantined 4 years and 2
                                                   t~
               NOTICE OF REMOVAL OF STATE CRIMINAL PROSECUTION BY DEFENDANT PAULINE HUNTER
     Case 2:22-cr-00212-RGK Document 1 Filed 05/17/22 Page 18 of 42 Page ID #:18




1            after the State Court ordered it's case terminated and loss jurisdiction?
2
    16. Is it Constitutional for the State to arrest and quarantine a Petitioner,4 years
3 and 2 months after the State Court ordered it's case terminated and loss jurisdictic

4 but has state actors who have made
                                         false claims?

5    17. Is it Constitutional for the State to prevent Petitioner from seeing a Judge
6
  after arrest, 4 years and 2 months after the State Court ordered it terminated the
  case and loss jurisdiction?
7
     18.Is it Constitutional for the State to deny Petitioner counsel after arrest,4
8
  years and 2 months after the State Court ordered it terminated the case and loss
9 iurisdiction?

10
        19.Is it a violation of civil rights to not allow calls for four days after arrest, 4
11      ~.rs and 2 months after the State Court ordered it terminated the case and loss
12      isdiction?

13    20. Is it Constitutional to order a private lawyer to find and "advise" a Petitioner
14 to
      appear a year after termination and loss ofjurisdiction?

15    21. Is it Constitutional to have a $200,000 bail on Petitioner, 4 years and 2
      ~nths after the State Court ordered it terminated the case and loss jurisdiction?
16

17      22. Is it Constitutional to use Covid funding for the malicious purpose of
       iolating Petitioner rights?
18

19   23.Is it Constitutional to list Petitioner as having "private"
   counsel with an attorney who has not had recorded dealings with Petitioner in 4
20
   years? Was it Constitutional to forego noticing the Public Defenders office in lieu
21 of the event?

22      24. Is improper continuous Constitutional?
23
        25. Is false aliment alibi for prosecutions (pending Covid) Constitutional?
24
     26. Is the reckless precedent of re-arraignment which has no founding
25
   Constitutional?
26
        27. Is an inflated bail bond amount Constitutional?
27

28

                NOTICE OF REMOVAL OF STATE CRIMINAL PROSECUTION BY DEFENDANT PAULINE HUNTER
     Case 2:22-cr-00212-RGK Document 1 Filed 05/17/22 Page 19 of 42 Page ID #:19




1                                                    ~.
2            REQUEST FOR LEAVE TO FILE NOTICE AT LATER TIME
3

4            ~o.     Under Section 1455, a notice of removal of a criminal prosecution
5
      shall be filed not later than 30 days after the arraignment in the State court, or at
6

7         time before trial, whichever is earlier, except that for good cause shown the
8
       nited States district court may enter an order granting the defendant or
9
            to file the notice at a later time.
10

11           1 ~.     Ms. Hunter respectfully requests this Court grant leave to file this
12
      notice ofremoval notwithstanding the fact it was not presented within 30 days of
13
      arraignment. On January 17, 2018, the Ninth Circuit for the Court of Appeal
14

15 issued a diapositive order No. 16-50085, D.0 No. 8:16-cr-00007-JAK-1 in Ms.

16
      Hunter's appeal brought under 28 USC 1442 on related matter. The appellate
17
            answered the question of whether a federally appointed GAT., had                       the ri
18 decision

19 to remove a state case to federal court. In that case although the Court dismissed

20
      the case as moot finding she waived her right to remove to federal court. The
21

22 Court's ruling confirmed
                            she indeed had the right to remove which she can choose

23 to waive or not. In the herein case, Ms. Hunter choose to exercise the right to

24
      remove her case as an officer ofthe court under 28 USC 1442.
25

26            ~2.      Relying on the Ninth Circuit's January 17, 2018 decision, Ms. Hunter

27
       requested leave to file a notice of removal. With the understanding that until the
28
                                                        19
                                                                                T PAULINE HUNTER
                    NOTICE OF REMOVAL OF STATE CRIMINAL PROSECUTION BY DEFENDAN
Case 2:22-cr-00212-RGK Document 1 Filed 05/17/22 Page 20 of 42 Page ID #:20



                                        S




     1     inch Circuit's Order, it would have been futile to file a notice ofremoval in
     2
                     with the Los Angeles Superior Court criminal case in light ofthe
     3
     4            appeal on the same issue. Given that the appeal ha.d been resolved less

     5        thirty(30)from the date ofthe request, Ms.Hunter filed a notice ofremoval
     6
           the earliest practical opportunity following the Ninth Circuit's dispositive order
     7
     8       16-50085.
     9      this time, Ms Huntier now ask the Federal Court to answer questions oflave.
    10                                                                       ~.
    ll i
    12                      Ms. Hunter requests this Court order an evidentiary hearing be
    13
              promptly and, after such hearing, make such disposition ofthe State
    14
                  ion as justice shall require.
    15
    lb
    17           May 16,2022                            Respectfully submitted,
    18
                                                              i                     ,-~
    19                                                  i..    ., .       _'.~ IL«~/ice
                                                                          .~
    20
    21
    22
    23
    24
    25
    26
    27
    28
                                                   20
                    NOTICE OF REMOVAL                         BY DEFENDANT PAULINE HUNTER
Case 2:22-cr-00212-RGK Document 1 Filed 05/17/22 Page 21 of 42 Page ID #:21




                          EXHIBIT ONE


 9~

1~
11 '

12
13'
14 ~,
15 ~'

16
17 ~


18'

19'

20'

21
22 I',
23 ~
24
25

26

27
28
                                          15
                          'ATE CRiMiNAL PROSECUTfON BY bEFENDANT PAULINE HUNTER CLAY
      Case 2:22-cr-00212-RGK Document 1 Filed 05/17/22 Page 22 of 42 Page ID #:22




1




          i KIItK LRYCI~SE~Y ProPer
          ~ KR~STALF~C~SEN Pro Per                         c~u~
            9663S~rit~ Moniuca Bivc~.#17                                couai'
          3 ~~~ ~CA 9x210
                                                              NIAR $!~01~
        4 Ch~ncller A,.Parker{#Z779U2)                   ~TRiW,W    OFC~fO~1~A
        g TV's MsN~ILL&~Y ~i*T
          X445~ Flower3          1~Floar
        6 I~ An us,CA 9 17~2~'i9
           2~3 4 -msso~c~
        7   Y3 489-0552FAX •'
                spa k a imwlawcorn
        8
        9 Att   ys for Plain~iff~
          7.E.and . by and i~ro        their
       14 G°a 'pan a ~i#~m,PA~~i~;~ G~.AY
      it
    ~22      ~
                             UNYZ'~D STATES D~ST~CT COU~i.T
    ~~3       ~ ~
    .,..~4    ~-          R TSL C~~~1T~tAL DISTRICT U~ CALII
                                                           I +'ORN
                                                             '     IA
      15      ~       ~
     lb KIRK ~RIIC~:~SEN,au individual;     C~ENO:~~~'          "
                                                                 ~ 3` ~~.~it~~s~~
                                                                  !~
     17 KR~S~AI.BrRICHSBAT,~iu~di.~vitdual,                                          ~
        ~AULINE CLAY HiJN~B~i,gaaxdian ~            rOS~ORDER
     ~$ ad li~m forZL,a a~snor,A.B,a minor, A►PPUIlVTING PAULIIVE SLAY
     1s                                     Hi~ATt'Z+`R AS GUARDIAN AD               .
     2p        ~,
                             Pleint i~.     LI'TEM                .
     ZI                vs.

     ~ COUNT'Y OF ORANGE,ct a1.
     23
     24                       Defe~~d


    26                                                                  z:
    27                ORDER AI'~'OI,~i'1' ~ fi~'7A~tDIAN AD LXTEM
    Z$
                                            1
             [PROPOSED) QRDER APPOINTING PAUi,INE CbAY SUN'D'ER AS               j
                             GUAYtUTAN AD .LT'!'EM
Case 2:22-cr-00212-RGK Document 1 Filed 05/17/22 Page 23 of 42 Page ID #:23




          II                             ~~                          ''~                , ..

      i            The Court,laving:considered the application o~ PAtJI~NE CL~iY
  2 ~TBR for app~mtment as C~uar~ian Ad Liter for A.B.~d z.B., minor
  3 Pl~atiffs,in the above action and goal cause appearing,IT IS OIiUERSD i
  4 PAULINE CLAY~~be appointed Cxuardtan Ad Litena four A.E.and Z.E.ins
     5 the above aeon.               ~        .
  6
                                                                                               ~~.
  7
  8 I~ted:                 ~ t t~~
  9                                               ~VT~STATBS A~GLSTRATB JUDGE
 io                    ~                               .
 I1
 12
 13
 14
15
~6

~7
18
19                                                                '
2(~
21                                                       .
~                                                                               '
23
24
2S
26
2?                                                                          .
2$.                                               2                                 .

               (PYtOPU3FD]ORDLR APPUll~tTIl'~G PAUL~TE CL'AY HIINTER AS
                               GII~RD~AN AD X~YTEM
      Case 2:22-cr-00212-RGK Document 1 Filed 05/17/22 Page 24 of 42 Page ID #:24




1
2
3
4
                             EXHIBIT TWO
5
6
7
8
9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
 28
                                            16
                               'ATE               SY                    CLAY
        Case 2:22-cr-00212-RGK Document 1 Filed 05/17/22 Page 25 of 42 Page ID #:25

J .~
,:r .
                                 SUPERIOR COURT ~F THE STATE OF CALIFORNIA
                                      FOR THE COUNTY OF LOS ANGELES


            TI-~ PEOPLE OF TIC STATE OF CALIFORNIA,                            CASE NO.BA453787
                                                 Plaintiff,
                           . v.

             Ol PAULINE HUNTER (DOB:08/15/1945),                              FELONYCO1biPLAINT
                aka PAULINE CLAY                                              FOR ARREST WARR4NT
                                                                                                                            _~ a
                                             Defendant(s).

        The undersigned is informed and believes that:

                                                          COUNT 1


                On or about June 5,2012,in the County ofLos Angeles, the crime ofPERJURY -APPLICATION
        FOR DRNER'S LICENSE,in violation ofPENAL CODE SECTION 118(a),a Felony, was committed by
        PAULINE HUNTER,who being a person who testified, declared, deposed, and certified under penalty of
        perjury in a case in which such testimony, declaration, deposition, and certification is permitted by law under
        penalty of perjwry, to wit, an application for a California Driver's License, did state as true a material matter
        which he/she laiew to be false, to wit: DMV application DL 44 to wit R0018763.


                                                           ~:~*~~


                                                 '
                                                 ~        COUNT 2
                                     c            —
                On or about August 30, 2013, in the County ofLos Angeles, the crime ofPERJURY -
        APPLICATION FOR DRNER'S LICENSE,in violation ofPENAL CODE SECTION 11S{a), a Felony, was'
        committed by PAULINE HUNTER,who being a person who testified, declazed, deposed, and certified under
        penalty ofperjury in a case in which such testimony, declaration, deposition, and certification is permitted by
        law under penalty ofperjury, to wit, an application for a California Driver's License, did state as true a
        material matter which he/she knew to be false, to wit: DMV application DL 44 to wit R0018763.


                                                          ***~:~




        Rev. 920-6103 DA Case 37250363           Page 1                                                 Case No BA453787
                                     FELONY COMPLAINTFOR ARREST WARRRNT
Case 2:22-cr-00212-RGK Document 1 Filed 05/17/22 Page 26 of 42 Page ID #:26




                                                   COUNT3


         On or about March 14,2014,in the County ofLos Angeles, the crime ofPERJURY -
 APPLICATION FOR DRNER'S LICENSE,in violation ofPENAL CODE SECTION 11S(a), a Felony, was
 committed by PAiJL1NE HUNTER,who being a person who testified, declared, deposed, and certified under
 penalty of perjury in a case in which such testimony, declaration, deposition, and certification is pernutted by
 Iaw under penalty of perjury, to wit, an application for a California Driver's License, did state as true a
 material matter which he/she lrnew to be false, to wit: DMV application DL 44 to wit N8076799.


                                                    ~ x~*~*


                                                  .
                                                  ~Zilil~~ 1[~J


         On or about May 22, 2014,in the County of Los Angeles, the crime ofPERNRY -APPLICATION
 FOR DRNER'S LICENSE,in violation ofPENAL CODE SECTION 118(a), a Felony, was committed by
PAULINE Hi1NTER, who being a person who testified, declared, deposed, and certified. under penalty of
 perjury in a case in which such testimony, declaration, deposition, and certification is pernutted by law under
 penalty of perjury, to wit, an application for a California Driver's License, did state as true a material matter
 which he/she knew to be false, to wit: DMV application DL 44 to wit N8076799.


                                                    ~ **~~




 Rev.920-6/03 DA Case 37250363            Pace 2                                                 Case No BA453787
                             FELONY COMPLAIIV7'FOR ARREST WARRANT
Case 2:22-cr-00212-RGK Document 1 Filed 05/17/22 Page 27 of 42 Page ID #:27




NOTICE: Conviction of ttus offense will require the defendant to provide DNA samples and print
impressions pursaant to Penal Code sections 296 and 296.1. Willful refusal to provide the samples and
impressions is a crime.


NUTICE: The People ofthe State of California intend to present evidence and seek jury findings
regarding atl applicable circumstances in aggravation, pursuant to Penal Code section 1170(b)and
Cunnit~ghan~ v California(2007)549 U.S.270.


NOTICE: A Suspected Child Abuse Report(SCAR} may have been generated within the meaning of
Penal Code §§ 11166 and 11168 involving the charges alleged in this complaint. Dissemination ofa
SCAR is limited by Penal Code §§ 11167 and 11167.5 and a court order is required for full disclosure of
the contents of a SCAR.


NOTICE: Any allegation making a defendant ineligible to serve a state prison sentence in the county
jail shall not be sub,{ect to dismissal pursuant to Penal Code § 1385.


NOTICE: Conviction ofthis offense prohibits you from owning, purchasing,receiving, possessing, or
having under your custody and control any firearms, and effective Janaary 1,2018, will require you to
complete a Prohibited Persons Relinquishment Form("PPR")pursuant to Pend Code § 29814.




 Rev 920-6103 DA Case 37250363           Page 3                                       Case No. BA453787
                             FELONY COMPLAINT FOR ARREST WARRANT
Case 2:22-cr-00212-RGK Document 1 Filed 05/17/22 Page 28 of 42 Page ID #:28




                                                                                      s ofa law enforcement
Further, attached hereto and incorporated herein are official reports and document
                                                           cause  for the  arrest of defendan ts} PAiJLIlVE
agency which the undersigned believes establish probable
                                                                  arrest is requested  for PAULIN  E HUNTER.
HUNTER for the above-listed crimes. Wherefore; a warrant of

                                                                       CORRECT
I DECLARE UNDER PENALTY OF PERJURY THAT THE FOREGOING IS TRUE AND
                                    R BA45378 7, CONSIS TS OF 4 COUNT(S ).
AND THAT THIS COMPLAINT,CASE NUMBE


         Executed at LOS ANGELES,County of Los Angeles n 1                                                       20,20


                                                                                      E.CA ELLON
                                                                                      DECLARANT AND COMPLAINANT

.............................................................................................................................................................................
JACKIE LACEY, DISTRICT ATTORNEY
                                                                                    BY:
                                                                                            T                      A,D         UTY




 AGENCY:              CALIF DEPT OF  VO: E. CASTELLON                                                   ID NO.: 472                     PHONE:(91G)657-6469
                      MOTOR VEHICLES
 DRNO.:              16M3D41441      OPERATOR MHM                                                      PRELIM. TIME EST.:                     2 HOURS)




                                                                                                         BOOKING                     BAIL      ~ CUSTODY
 DEFENDANT                                                    CII NO.                DOB                    NO.                      RECOM'D R'TN DATE
  HUNTER,PAULINE                                                                     8/15/1945                                        $180,000




                                                                                                              med
 It appearing to the Court that probable cause exists for the issuance of a warrant ofarrest for the above-na
 defendant(s), the warrant is so ordered.


   PAULINE HUNTER                                                                      BAII.: $



  DATE:
                                                                                         judge ofthe Above Entitled Court



  Rev. 920-G/03 DA Case 37250363           Paste 4'                                                                                                Case No. BA453787
                               FELONY COMFLAINTFOR ARREST WARRANT
     Case 2:22-cr-00212-RGK Document 1 Filed 05/17/22 Page 29 of 42 Page ID #:29



,~


     NON WARRANT DEFENDANTS:
                                                        BOOKWG         BAIL      CUSTODY
     DEFENDANT                    CII NO.    DOB          NO.          RECOM'D   R'TN DATE




      Rev.92Q-6/03 DA Case 37250363           Pape 5                         Case No BA453787
                                  FELONY COMPLAINTFOR ARREST WARRANT
     Case 2:22-cr-00212-RGK Document 1 Filed 05/17/22 Page 30 of 42 Page ID #:30


~,


                                                                                 SECTION 872
     FELQNY COMPLAINT -- ORDER HOLllII'~1G TO ANSWER -- P.C.

                                                                                   ) has/have been committed and
     It appearing to me from the evidence presented that the following offenses
     that there is sufficient cause to believe that the following defendants) guilty thereof to wit:


                                           (Strike Dart. or ndd as applicable)


     PAULINE HUNTER
      Ct.  Charge                Charge Range                                    ~ Allegation         Alleg. Effecf
      1   PC 1I8(a)              2-3-4 County Jail
      2    FC 118(a)             2-3-4 County Jail
      3   PC 118(a)              2-3-4 County Jail
      4    PC 118(a)             2-3-4 County.Jail




     I order that the defendants) be held to answer therefore and be admitted to bail in the sum of

         PAULINE HUNTER                                                                             Dollars




                                                                                                  Date of
      and be committed to the custody ofthe Sheriffof Los Angeles County until such bail isgiven.
      arraignment in Superior Court will be:



          PAULINE HUNTER                                                                        in Dept



          at:               A.M.




          Date:
                                                               Committing Magistrate




       Rev.92d-6/03 DA Case 37250363           Page 6                                                Case No:BA453787
                                   FELONY COMPLADVTFOR ARREST R'AKAANT
Case 2:22-cr-00212-RGK Document 1 Filed 05/17/22 Page 31 of 42 Page ID #:31




1
2
3
4
                           EXHIBIT THREE
5
 6
 7
 8
 9
10
11
12
13,
14
15
16
 17
 18.
 19 ~'
 20 I
 21 1
 22II
 23
 24
 25 ~
 26 I
 271
 28
                                                 17
                                                          BY
                 OF REMOVAT.OF STATE CRiMiNAL PROSECUTfON
   Case 2:22-cr-00212-RGK Document 1 Filed 05/17/22 Page 32 of 42 Page ID #:32
                                                                                                               ..
. ti ~ ~ ~ C(~S'ELLO _                       !-J~2                                 ~ ~C                  ~ ~.-_ .
                                                          OPPOSE OP. _ .~ _.. ~ ~~~                                     --...




                                     DECLARATION FOR BAlL DEVIATION
                                                                 '"     /
      THE UNDER SIGNED HEREBY DECLARER. PURSUANT TO PENAL CODE SECTiiON 1269c.
      THfrT THERE IS PEASONABLE CAUSE F0~ !!AE TO BELIEVE THE AM4UN~ OF'BAIL SET
      FORTH {N THE FELONY BAlL SCHEDULED IS INSUFFICIENT TO ASSURE THE F~RRESTEE'S
      APPEARANCE BEC~;USE OF THE FOLL~~AlING FACTS.FIND CIRCUA/ISTANCES: ~ .~

                   RtiP SHEEi SHO~NS                                   x        ALIF,SES
     . __._
                                                                   ---   -      DATCS Or BIR7Ft
     ~~ ~~' ~~                                                     ._ ~7 _      DRI~IER~S LICEf~SES
     -~ :~::^_,                                                   ._ ~          SOCIAL SECURITY NU~lIBERS

                   LISTED ~lS F\ TRANSIENT
          _ _ __   PROBABLE ILLEGAL ALIEN -- PREVIOUSLY DEPARTED _ ~_ TfP/IES
     --            wARRtiriTs      ~ _.~1~5 -~~trb~ ~ ~i P~.~ u¢~ f Ntv c.~pc.~.. t.~. ~ ..~ ~ rt~~ _ r9g/.
                                                                                                  -~o,V..~4Y too;
                                  ~a~~ .t5 .~c~,lft~u~. F~2._F~-i~Zllz.,~ ~~'Pr~.o~[s 1~.~.~s71G~-+
     -- - ~
              --                  ~l~-..1.s-~...~~v~!18zG-~rr~J_.~..~.5T.. ulir.~~_ nfd.T_~..~ ... _ _.

    .... ~. -OTHER                ~ 1J0....K_Nc~! _ .._._Q~ . _. _.,---._.... . --- -••----=- --- -- ~ ~- -~-- --.._..~ - - -.. .--
                                   I~OhS COoQ~~"r~V% w,Cdr ~i




      THE INFORMATION PRESENTED IN THE ARRAIGNMENT INFORMATION AND BAIL COMPUTATION
      FORM !S HEREBY INCORPORATED BY REFERENCE.

      WHEREFORE, i REQUEST DEVIATION F                 MT  FELONY BAIL SCHEDULE AND 16ELtEVE THr~T THE
      BAIL SHOULD BE FIXED IN THE SUNt OF               ~~ OQ ~

      1 DECLARE UNDER PENALTY OF PERJURY THi;7 THE FOREGOING IS TRUE A                                      RECT TO THE
      BEST OF PAY K~lO~NL DGE
                                                                                                                    ~~ ~~
      DATED            ~ ~ 1a i           _.                                         _                               ----

       AT '~S ~V C~,tS--- -... CaUFORNIA
Case 2:22-cr-00212-RGK Document 1 Filed 05/17/22 Page 33 of 42 Page ID #:33



                                          Felony Bail Computation             Worksheet
                                             ~'e~,~
                                                  '  ~           ..         .. _        .. .
    1    Name ofArrestee: ~V~~y~(j Niv+~~tlnr
    2    List al{ offenses: t~~ ~,
                             Base Bail(see Felony Bail Schedule atpages 5-2?~                                          AMOUNT
         Of the offenses listed ire 2,which carries the highest bail schedule          amoun    j~~
    3    List c~aie and section number here:                                                          a
                                                                                                             2DrODt~
         List the bailschedule amount for that offense in 3a.                                                      3a
         Is arrestee charged with two or more offenses?!fyes,move to 3b and 3c if no, move to 4
               Were additional offenses committed against separate victims OR were the offenses .           y~~
               Committed on separate dates? iffires, listthe sum ofthe bailschedule amounts)for
         3b
               each additiara/offense committed against a.separate victim and/or on a separate               20~0o u
               date in 3b.                                                                                         3b
                                                                                                                       •2V~.0~v
               Were additional separate sex acts committed on the same victim AND may each
         3c act be punished separately?!f yes,list the sum ofthe bailschedule amounts for                              ~~~~~
               each adartionalseparate sex act in 3c.                                                              3c
         Ifno to 3b and 3c, base bail is only the bail amount for tl~e ofiFense Ilsted in 3a
                            Enhancements(see Felony BailSchedule atpage 23)
    4    Was the offense committed for the benefit of a gang?                                If yes,add $40,000 4
    5    Was a weapon involved?!f yes,addonly the greatest of5a-5allf»o tnreapon, move to ~6
         5a Did the artesteepersonafly discharge a firearm,
               causing GBI cr~death?                                            _       If yes,,add ~1_,000,OOU 5a
         5b    Did  the arrestee personafly  discharge  a firearm,    not
               causing GBl/death?                                    _ _ _ __              Ifyes,add $200,000 5b
         5c Did the offense involve possession, use,or discharge
               ofa firearm?                                                                  if yes,add $50,000 5c
         5d Did the arrestee use a weapon other than a firearm?                              if yes,add $20,000 5d
    6     Did the offense involve infliction of G81? ~~ ~ ~~                                 !f yes,add $3D,000 s
    7     Does the arcestee have any prior convictions? lfna prior convictions, move to 8
               Is the a~restee charged with a current narcotics safe
         7a AND does the arrestee have a prior conviction far                     If yes,add $30,000 per prior
               narcotics sale per Penal Cade section 1i370.2                                            conviction 7a
               during the past 5 years?                . . ..           ...
               Does   the arrestee have a prior conviction fior a                 If yes.add $50,000~per prior
     _   7b senous or vlol~r~tfelony or enumerated sex offense?                                         convict9on 7t,
             • Is the arrestee charged w~h    a serious  or  violent
         7c felony AND does the arrestee have two or more
               convictions for serious or violeirt felonies?                            !f yes, add $1-,000,000 7c
          7d Has the arrestee served a prison term during the
                past 5 years?                                                   If yes~add $10,000 per.term 7d
    8     Are there any   other enhancements     to be added?   !f no  other   enhancements,        move to 9
          sa Is ttte crime a hate   crime?                         _          _ _    _    _ If fires,add $25,000 8a      ... .
          6b Is the victim over 65. under 15, or disabled AND is the
               crime enumerated in Penal Code,sections~667:9-6fi7.10?. _.._._., if yes~add $25,004 Bb.                     .. ..
                Add only once: Are there other felony charges pending
          8c against arrestee, or is the arrestee on parole, fielony
                probation, or probation department supervis.'~on?                             If yes,add 525,000 8c
                Ifbase bail is less than $1,000,000and neither 6a n'or 8c
          ed apply.• Dces the offense carry a possible teRn of life
                imprisonment?                           ~          _        _ _          If yes,add $1,ODO,Q00 8d
    g Add                       ugh 8d.                                        This is the Total Batt: 9                     V

                                                ~7 ~`~'         If yaw Entorcement, Do You
                                                                appose O!R Release?            Yes 0 No
             r~.me ofPerson com~~Form            smgano o
  If deviation from Felony Baii Schedule is sought, please attach request and supporting dacumentatinn.
   ea~atiZoe Fe~a+yf~„pmswn worksha.~ Ialmsst
Case 2:22-cr-00212-RGK Document 1 Filed 05/17/22 Page 34 of 42 Page ID #:34




                                              ♦           w.~

                                      rte`,           ~       ~       ~       Y   `1:: .~
                                                                          i
                                                                  s               ~.'       4i




                                                  .
                                                          y
      Case 2:22-cr-00212-RGK Document 1 Filed 05/17/22 Page 35 of 42 Page ID #:35




                           C
                 S
                                                                                                                         1
.:y



                                            cov~r~t-~r ~a~ goy a~;;;~.~..~s
      71i~ PEi7PLE t3~ TNE. ~TA~'E QF CALIF't)RI`iIA 4'S.             CUir}~f~l~i~" ~I~T~ (y~r~.~./2'~
      SEFENpANT tel: PAULIhI~ Hi11VTER
      LAW ENF4RC~NtEN7 AGENCY Es=F£tTIH~i fIRRF~'T: sEErk~Ttd~.~7'T OF I`~JOTO~~ ~J~i-:YCi.~S

      SAIL: APREARANCE            AMt~I~~       DATE          RL:C~:~~~ C3~     Stf~4~T'Y CGt~ll~l~r~JY   r~GI5T~R
             i~ATE                OF BAII.      Pa5'T~D         ~f)~di7 ~;'J.                              ~lUt96ER
          X7/21/17             $100,gUO.~0 0'j~.7j17 5t~J~l~S~,~~               ~AN?~~~'~ xt~iS~,~Ris~aC~ C~
      u+s~ ~~~~o t~N 09J8i/17.
      ~F~~ws~(~~:
          CGUNT OZ:       I3,8(A~ PC ~~L
          CC1t~iVT C~2:   1.I8(A PC FED.
          iC+DUNT 33:     x.3.8 A) PC l=~L
          ~OUIdT f?4:     11.8 A) PC F~i~
          COUNT US:       ~.18(A) PC FEL
          Ct}t)NT U~:     11,8 C~l7 PC DEL
      C~[~Ixi"i'ED {~N    ~R ABt~UY C1~iI~5/~2 ~!v T~l~ CDUN►"ti' t3F t~t~5 ~ilVG~~.~S

      ~1~1' S~~HEDULEt7 EVENT:
        04/3.4j3.7        830 AM ,~RR.4z~~s~tENT


      ~~! 0/12 j3.~ !tT         90~ RM .~

         TRANSCFtZP'TS RECEIVED 8i~ U9—~~-17 r#if3lN CGlll:~' ii~f'G~►'t7~S~ ~. F~E~~H:~ t+,;l"
         ~ i~~R rR~L~MINARY H~ARIhtG DkTE U~—t]1-17. '~i`~.~4NSLiZ~PTS DEL.i.VFRE
         TO D~P/itiTME~3'~" 121 t~►S4IL [3IN BY L. K~Nt}~RL~. ttUi1T~3Et3 ~Y i.. K~l~aD/~~.~..~
      P~"1'fER .p~GV SETjit~{wI,YN ON ~LD~


      c~~ d9J3.~j~.7 ~~ 834 ~.~             ~~ c~.rrr~.~ o~:~a~r~ o~~i~ I.?~.
      C~aS~ CALL~EA FOR Ait~tAl~►~NiEidT
      P;4RTIE5: NC~RP~t ~HA~IRO ~3i1DGE). MICN~tiS_ 'C'flRiiL-5 (C:LE32iE)
                            S~RiI)RA ~iIRE~ (RE~'1        h1T~'A G. Ct3Ci~ (J:~)
      DEFENi3ANT IS PRfiSEtdT Itt1 CQtIRT, AiVD R~:Fit~SEWi~!a PAY C!~?iPlD!.~~ fi. ~P„d!~~n PK~4'A~"E
         C~tJNSEL
         I   NFflR!~PAT~Oid FTL~s~ A:VD -i'H~ DEFE~tC~~NT r5 :~~;>4~Ght~U.
      ~EFENDAi~iT STATES ~fIS/#tER Ti~UE Nr1ME A5 C~~<r~i~~iFi}.
                                                                        i
      QEFEN(,~ANT. Ut~eItIES ARftl9~IG~~~iVT ~ #~~~T,idG ~`F :Fiv;~~~i+~R ~C31;~ItvItS~Ci.'~~'~'"~, Al4i) 5'i'A7Eh9ENT
      OF   ~ON5TITUT~t2    lVAL AivD STATli70~6Y  ftSG~f`fS.
      DE~Et~i[3AM" .4V~IVES FL~Ri'EfER d!~lxArGNMENT.
      D~F~NDAM1IT ALi-AJS P+lOT €iU:[3..T1' l"(3 COUNT C~~.,; 1.~ii~L~j f~~,
      D~FENDAM' ~[_~4G~ NO'T GJTL,T4' TCl ~t~UIV7~ i~7., ~.~u~(A) FC.
      D'EFEiVi)ANT P~.~fiRS ~~t~T GUILTt~' i  D CC~UN'T' Q3 T: lt~i (/~1 PC ._
      DEFERt~Ai~lT Pl.E~bS 1V07 Gi3ILTY Tf3 CQtJhT C~4, 11k~(:A~ #~{::
      DEFE1VDAhE7' P~.~ADS ~i€?T GEf.iLTY TQ L".t7U~VT l~5.r 1~.8{A~ PC.
      DE~'ENDAfJT PL~AUS Nt}T GU~L~Y :0 CQilttitT L~6, ~.1.$t;~k~ PC o
         ~LH/RT i]1~EitS AND FLI~JJDTh~S:
         —T#iE C011K? ORDE325 THE t?EFE~DANT Tf} APPL'~.Ft Ct~ Tl~t'~ h~~XT C{3Ut~.' C;'►TE..,
         -t~DA: TAL KAti,4NA #~ 19f~$ 2 8
          ..
Case 2:22-cr-00212-RGK Document 1 Filed 05/17/22 Page 36 of 42 Page ID #:36




                                                                   PAGE N0.    2
   CASE No. BA453787                                               oa~r~~ ~ar~r~o   05/7.1J22
   DEF N0. 01

     DEF"AR7MENT 116 CAl.L~.NG MA'1'T~K FtSR D~P~R~'~I~~fT 1~1.
                                                                  13AY
     PRETRIAL Ca1d~ERENG£f TRZAI SE`~TING T,'S SkT OW 3.1-C-17 RS
     0,~~0.
   WAIVES ~TATUTURY ~'TME.
   NEXT SCHEdULEd EV'EN'T:
   11J06J1,7  $30 AW1 PR~TRYAL CQNF/TRIAL SG~~'~N~          DLST CEtJTltltL DISTRT~'T DEPT 121

   CtlST~Y STATUS: SAIL TO STkND


   ~, a~r~8~~.~ ~~ 8~~ ~,
     -T~tl~ KAHANA, D[}A / i.AST FLAY 1~-6-~7
     F(3RMAE. DISCOVERY REQUEST RURSURN7 i0 PENAL Cflt~~ SE~7"IDldS 1054.3
     1lND T.05~1.5 g IS F~L'~D B~' i'HE PEO~L£.




   ON 3.~jU~/17 AT    830 AA9   ZN CENTRAL DTSTRZC7 #3EP'T ~z~.

  CRSE CALLED ~R PRETRIAL CdNFj7~iIAL ~~TI'IiVG                        )
  PAl~TIES: R:[CHARA S. KElrIA~YRN (~UDG~} 3{}HiU €"Al~iPA (CLERi~(DA)
                          SAAtL1RA BZitES        (REP) TAL KAHANA
                                                                       ER A, PARKER PRIVATE
  DEFENDANT ZS PRESENT HIV COURT, AMD REPEtESENT[D 6Y CNht~~L
     CAiJt~SE~
  '                                                         PCNAL CC)I7E SEC7IOh 120 .7.
   E'HE fiOLIRT t)FtaERS A FR~-PL~A REPOiLT PURSUANT TUPRE-PLE
                 tNTT'S C~'UNSEE . CJ4E5 NOT CONSEN T iQ A       di INTEF;1/IEW.
  THE   LIEFEWDA
      _TAL KAHRNA,     ODA  /LAST    OAY  Z-~-18 I BOND  $IU~K
                                                                          R
     ADD~I~iORfAL D~BVERY REt~A3N5 fliJ'fST1~NDING. CAUSE IS FiJRTi~EENCE.
     CON7XNU~D TO ].-x.0-18 AT $:30 A.Ni.. FOR PRETRIhL CONFER
      COURT OttDERS. AND F=NDIIVGS:                                           DATA..
      -TkIE... COURT QRDERS 7NE DEFEIVOWi+kT TC? APPEAR OlV ~fiE NE7{7 CUiJRT
    WAIVES STATUTt7RY T2ME.
    WEXT ,5ClI~ULED EVENT:
     BY STIPUU4TxON CAUSE COfVTINUED Tt3
      Ol/10~~.$      83i~ A9N FRETR2#l, COAlFEFtEtJCE  DIS'Y' CEN7RA~. DI57RICT DL=P3 121


    CU5TOt1Y STATt15: BAIL Tt) 5.i'AI~D


    a~f 01/1 /1.8 aT 83~ ~+~     ~t~ CENTRAL (7IS7R~C"f DEA7 12i

    CASE CALLED F(3R PRETRIAL CQ~IFEREN~E
    PARTS~S: RICHAttD S. KEMALYAIY (7UbGE~ ]!?I-iM CAMIi~A (CLERIC) j
                         SANpRA BIitES        {REr~I TAL _ iCAHANA ~~JA
                                                                             R A. f~ARK~,R
    t3E~'ENt)ANT ZS HST Pi€ES~NT IN CC}ilRT, BtJT REPRESEb!'T'~t) BY CHANDLE
       PRIVATE CJDUNSEL
       -TAI. ICAHANA, DDA / L.AST SAY ~-9--18 / ~Q~iD $7.(1QK
       DEFENSE COUNSEL`S ~fOTIt7N YO ISSIs"~ AND HOLD r► BEht[H W~tRitAMC
                                                                           T
       UNi'TL 111-I8, Y5 GRAiVTED. BAIL REMAI°~S ~ UP Tp S~"RND PiJRStiAN ~O
      p~ra~t,. Coop S~e1~0~v ]. 05.1; rvon cauSE r5 Feu;vn.
                                                    .
      CO~IRT ORDERS ANU. ~Il~1DING5:
      -THE COURT ORDERS TF3E ~EFENDATdT Tt~ APP~ACi O(~i THE NEXT COUEtT i3A7E.
                                                                           .
    NFJt'~ XHE6UL~D E1tE1V'E':
     UPON NgO7I(~ht . OF DEFEND ANT
Case 2:22-cr-00212-RGK Document 1 Filed 05/17/22 Page 37 of 42 Page ID #:37




   CASE NO. BA453787                                                 PAGE N0.   3
   D~F N0. ~1                                                        ~A7E PRINTED ~5J~1J2Z

    (~1/11j18     $30 Aht   BF_t~fCH WARRAIUT 1i(!L~   i~IST CENTftlkL IIISiRICT t7E3~T 12X

   CUSYODY STATUS: BAZL 70 STAND


   ~QN 01./11118 A`i' 830 AM    Iht CEN3ftAL 1}ISTRICT 11ERT 3,21

   CASE CALL~rb FOR BE13CH WAR1~kNT N(3i..D
   PARTIES: RICHARD S. tGEN1ACYAN {BUDGE) ]D~Shi G4Mi'A ~Cl.EfiK)
                          SANDRA SIRES           (REP) TAL K~4NANR (DA)
   t7El~~NfsRNT IS PRESENT ~ltt COU~{7, i41Vt} REPftESEM'ED BY ~iiANDi.ER A. PARiCEi2 PRIVATE
      GOtlN5El..
      -7AL KAHANA} i)DR / LAST DAY 3-15-38 f 8t3id~J ~10{7K f X,f~ZZ$3610
      C~EFEtdflANT i~3 OBT~N NEW PRIVATE CI~UNS~L. CAUSE IS FUR'T'HER
      CONTZNUEI7 Tt7 2-13-18 AT 8t3{~ A.M. FOR PR~7R~RL CON~EREf~t~E Atli?
      5TAT'LJS QF [~€4V COUNSEL. BENCH WAAfRAt~l~ P~iEVIOtISLY NELC~ IS RECAL(.ED
      AND ~11A~5H~D.

     CURT ORDERS AND FIldUIt~GS:
     -TNE CC}URT ORDERS THE DEFENDANT TO RpFEAR CSN `THE NEXT" Ct3tlR7 DATE.
   ~tAIV~5 5TA7t3'TORY TIME.
   NEIE"F SGHEflUL.ED EYEN7:
    UAUN. MOTION t~F pEFENQANT
      QZ/1:3 1$     83@ At~l PRE'~€tZAL CCK~:FEiL~IVCE DIST iEi+fi'RAL DYSTRYC~ DEPT 12~,

  [USTO~Y S~'ATUS: BAIL TO STtWD


   Ohi O~II3jI$ AT    $30 ANI   ~i~t CENTRAL DTS'fitICT i]EPT 1~1

   CRSE CALLED FOR PitETRIAL CONFERE~iC~
   PARTIES: RICHl~RD 5. ICEiWALYAIY (JUKE} JOHN CAMPA         CLERK)
                        i~tTi}YA BECIfF(}R!3     (REP} TAL KAHANJ~ (!}A}
   I)~~~IDAIV~" IS PRE5~NT IN COURT, AV~iD PcPIiESE~,IT~D SY CiikNDL.ER A. PARi4ER PRIVATE
      COUNSEL
      -TAL KAHAN~i, DdA j LAST IIkY 3-~.5-I~ J 8€3fVD .$~.4~IC) X~],83fi~0
                                                                         .
      CAUSE IS. FURTHER YRA'.C~ED TO 2-23-18 AT $:30 A.~l. FOR PRE7i2IAl
      CONFERE NCE.

      Gt~URT ~RtIERS Ai~iD FYNDIM~S
       THE COUR7 QRDERS THE DEFENDANT" 70 APP~A3t Qh1 THE NEXT CQt3FtT E?AT~.
    NEXT SCHEDULED EVENT':
     UPON      ~N QF DEFENDANT
      ~2/23f1$     83Q ANt PR~'1 R~AI C~NFEREN~E by5i' ~C~NTR1kL. DISTRICT' DEPT ~.~3.

   CUSTt3f3Y .57A7115: BAIL T'n 5TRND


   ON U2f23/18 AT     830 ANI    ~iV CEM'RAL €?I~1"RIL"f DEP3 1~3.

    +CAS'E CALLED FOR i~RETRIAL GONFEREhiCE
    PARTIES: RICHARD 5. KEMALYRiV (~tl~G~) 7QFiN CAI~EPI~ ~~lERl~)
                          ~EORGET~"E RODARTE            Cf2EP} TAL. ~CAti~NA (DA)
                                                                                     ~'R~VA7E
    BEFENDANT IS PR~SEN7` Ihf C~11RT, AND ifEFRESEMfED BY CHRt~?LER ~. PARKER
       C~Utd SEL~
       DE~E~{DAId1T HAS FILED A i~iL7TION OF _ REMC}YAL TO FEDERAL C011RT
       PURSUANT.'TO 28 USC 14 2 ~~10 1443. CG~id~EQUENTE.Y, THE Ct7U~rIN     ~TlU~S
       ZT NO LONGER HAS 7URI5~ZCT20iV ASSENT READ. f~RC}~E~IitilGG5            TttIS
Case 2:22-cr-00212-RGK Document 1 Filed 05/17/22 Page 38 of 42 Page ID #:38




   CASE NO. BA4S3787                                                        RJ~~E tv0.        <~
   D~F N0. i3I                                                              ~i~a-r~ a~~r~~r~t~ a5/1~/zz

     MRT't~R. ARE TERM7.~tAT~ ~~NDI;~FG FURTt3~t~ U~E~ +Ui~ THE ~OUTtI'.
   NEJCT SCHEDULED EVENT;
    UPON MUTZON OF ~OiJRT
   PRt}CE~DYNG TERM & CL~'?Ii CANCcTt..

   CCJSTODY STATiSS: BR:€L E7€0~lEiZA7kD


   ~1 O~j11/]:8~ Al" 83(~ Alvt      IN ~EidTltAL DzSTRICi flEP'i' 121

   +CASE CALLED ~Ot~ ~UR7H~R PROG~~[?TNGS
    k~~ItiTIES: RICHARD S. K~MALYAN (JUE~GE)         70~{i~ CAh1~A     (~i.~RK)
                          nto~ti~         ~~~p) ~n~ tic,hasu~        CAA)
   DEFElVbANT I5 NO7 PRESENT' XiV Cplllt`~, AHD NOl' TtEPRESENTED BY COUNSEL
     CaEtSE IS SCNEDULEI~ QN $-1(}-18 ~C2R STATUS RE1~RT R~: 1?kFEN:7AtdT'S
     MOTION i)~ REMOVAL 70 ~~~ERAL C~U~"f' PllR~UANT T~ Z~ USC I,~44~ AND
      1.43.

   NEXT SCtiEUULEn EVENT:
    UPUN MOTIflN OF C011RT
     ~8/1Q/~$    83C3 AM aUDICIAL ACTItl1~            DYS7 ~.EhiTRAL 0~5TRZC't' isEPT 121



   i}1Y 08JU8I18 kT     $34 RM      IiV 'C~tVTRAL QIS'~3tT~T gEP7' 121

   CASE CALLED FOR FtlRTtiER PROEEEDIhGS
   t~ARTIES: R3CHRRD S. iC~hL4LYA~F JUDGE) 7~7Flh~ G•kRiPA (CIER{t)
                             SANDRA BIRDS           PREP) TAl. KRNANA {f1A~
   I3EFEN~ANT ZS i~T PRESENT I~! C4URT, • fiND N'J'~` i2EPRE5~NTED BY COUNSEi.
       C4USE iS CQtJT~iVttED TQ 11-9-].$ FAR 57'ATUS izE3KtRT R[: DEF~AIQANT'S
       AgCfT`Yflht QF RENK)VA~. TO ~E~ERliL COUttT' PUR~l~ANT TO ~$ 3~SC I~~Z AND
       I~43> ~'NE MATf"Eii ~5 STILt~ PENL3ING.
   NESET SGHEQUL~~ ~VEM':
     ~lf~OW LOTION dF CE)U!'t7
       ~.~osl.is spa ~ JlJDIC~AL ACTYt7N U35"i" ~"~'~7~tAL t~ISYItICT ~?fPT ~1


   ~N 1.~./0~/18 AT     83O AM      IN C~~iTl2A~ DISTr~~t.T ~Li''C ~.Zl.

   ~145~ CAI~L.EO ~di~ Ft,1R'['FfER PROCEEI7ItdGS
   Pl4RTIE5: RICHl~RD 5. 1GEMALYAN (7UI7f~E~         3~FIf. Gti*1#~A    ~CLEF:iC) . -.        .

    I~~FENDANT Y5 N{3T PR~5EN7 YN ~~t1RT., Ai~~7 NOT R~?RESENTEa F3Y. CflUldS~i~
       THfS MAT7~R S5 STZLL PENbZ~G IN ~E~EItA~. COi7R'T. ~IiJSE IS ~i~R'TtlER
       CANTIf~t1~D TO 2-8-~.9 FfxR STATUS REP(lftl' ~[ ~: r;•E~~I~Ur~IdI'':~ [A~"~Ii~Pt OF
      ..REMOVAL 7f3 FEDERAL COURT P'UR.SUANT TCt 28 J5~: :L4A~Z. R~'~ID 143.

    NEXT SCHEDUI.E'.3 EVENT;        ~.
      02/(~Sf~.9   $3D RM 7U~ICIAL f,~CTI~(V           U~5`I` ~.Ei~i'Fit~k~ J~SI'FiTC~' D~~'!'. 12~.



   ors oz/o~lis A~ 83E} Rai         Tip CEN"fi~Al. DISTRICT DEPT 1~1

    Cf~E CAL3_ED ~€}R JUDICIAL RC7TON                        .
    PAR"fX~S.: RICHARCt S. kCEMALYEtN. C~UD~GE)       DE~.Y~ '~A~IG (~t,ERK)
                         CHRISTIi~tA VAI.ERY
                                        'i                ~I?E?) TAE. KAH~tNE`i          (13.4)
Case 2:22-cr-00212-RGK Document 1 Filed 05/17/22 Page 39 of 42 Page ID #:39




    CRSE NO. aA453767                                               QaG~ ~~.   5
    REF Nd. 01                                                      DATE FRI~TED OS/11/2~

    DEFENDANT IS .NOT ~R~SE~T I~ CaURT, LNG ~~T ~~ARESFNT~p BY COUNSEL
      -DDA.:. 7F►L ICAHANA O RE-ARR~t~GNMEM'I' -}- {{~'+~OYAL 7~ FEE~Ei2AL CC11~RT

     i't!E PEOPLE PROVIDE AN liPD~►TE itEGA~TNG 'i'HE DEFEiV0A~1T'~ t~;GT~QW OF
     REMOVAL TU FEDERAL COURT PURSUANT 70 28 tSSC 244 AND 1,~F43.

      '1'Ff~ : Cl~RIC ~~ fii~lE C~UR7 IS T~ CONTtt+CT ATTOi~NEY OF itECOR[}
      CHANDLER A. PARKER REGARDING SCHEaVLING A DATE TO BRING 'fHE
      DEFENDANT IN FOR R£-ARRAIGNMEt~fT'.

      THE CLERK CAF THE GflURT lir~S NQTIF~Ef? A1?ORNEY CNANDI.ER A. PAI~ttER
      TEi:EPHONIC:AL~if AT ~~.3-4~9-002$ AND LEFT A t~OICE ME55AGE, VGA
      FRCSIMILE AT X13-489 0552, AND Tl~RDUGH U.S. POSTAL SERiIICE
      AT 444 ~S. FLt31idER 5T, l$ FLQQR, S[iTTE ZBflU, LU5 I1N~ELES~ CA 90~7T.
      TO Ci3N7AC~ THE CQ1lIiT REGAiiDING SCNEDUl.ZNG.
    NEXT SCNEDULEO~ EVENT:
    RRRAYGNME~17 PEN~YNG




    ON 0~/26f19 AT     40Q RM    IN CENi"RAL I3ISTR7:~7 DEPT x.21

   CASE CALLED ~ JU€1ZC]:AL ACTIOtd
    PahR7IE5: RxCHAitD S. lCEMAtY/ki~! ~JFIDGE) 70KE~H PUL.iDp (CLERK}
                         CfiiiTSTIMA Y1kLERY        (REP}. i'AL ~~A~~ (~A}
   i3EF.ENDAlVT I5 !Vf}T ('RESENT' IN COt1RT, Bi3T REPitE5EN"fED BY CFlAM1iDLE~t AM PAitlCER
      PRIVRTE.fOUNSEL
      -xax~zs~o
      -ODA:TAL KAHEWA


      DEFENDANT PAULTIVE HUNTER. NAD F'REVIt3U5l.Y F~LECr A. MOTION OF
      l~FJN6VAL OF THIS 6+1PtTTEI~ Ti7 FEOER,4L .COt3RT IiND '~'HE CElt1RT
      DEl'Ef€MINE(3 ~FNAT PURSlJAIVT TO 28 U5C (.442 ANQ 1443 Ttia'T ~'['
      4t[E} L~b1YGER HAD 3URI5brC'~'I{7N - ABSEtd't" REMAND.

      'TNE SA~l. BOND WA5 QR[)EitED E~L7idER~+tTE.D.

      PRQCEEDINIGGS WERE t1~ERED TEftMIt~IAATED UN FEBRl1ARY ~3 ~ 2a1.8

      PENDING F~1RTt{E~t ORDER BY ~ff~5 CdUlt'C.

     THE CQURT WA5 PROVIDEi~ AN UFQATE SY 3'H~ PEOPLE REGkRUIl~9G
     T'1iE dEFENQANT'S PRIOR MUTTON OF RF_A+iOYAI. TO FEDERAL C{~IJRI"
     AiVD THE COURT ~N FEBRUARY i3$, 2019 DIRECTED 'CtiE CLERK :OF
     THE .Ct}URT Tf3 N~FY DEFEldS~ C~UIdS~~ TO 5CifF_DUL.~ C1N }SEARING
     QN TNIS MA'iTER IN DEPARTPAEiUT IZl..

     AS N1012E FULI.f R~F~~CTEd IN -THE iVO~'~S OF 7~i~ f3~FICIAI. Ct2U~7'
      REPORTER, PROCEEDING SN CASE SA+~537&7-D1 RRE ORDERED
     SiJSPENDED Atd~ THE Ct?Ui~7 O~iD~FtS d~T1"ORNE`f CHAtJDLER. A. 3?AitKER
     i"C} ADVISE D~~ENDAUT PAI~LINE WUN7ER TO APPEAR SE~ORE 7HI5
     CURT IAI REPARTMEN7` 12.7. ON THE DkTF QIF R+lAY 1fT, 20~.~.

     $4TH COUNSEL 0`RDERED Tt} R~l'l1RIY 7E3 t3~PA:3~'FlEM' Z21. Q~V MAY 10 ,
Case 2:22-cr-00212-RGK Document 1 Filed 05/17/22 Page 40 of 42 Page ID #:40




   CRSE NO: 8;44537$7                                               RAGE N0.
   l~EF Nt7.   01                                                   D~tTE PRIN7~. 05/1-/2~
     2419.
   NEXT SCHEDULED WENT:
     05/1Q/1.9  830 AM R~s-ro~.arion~     ~~a=~       DISI' CENTR~4l.: DI5'TRIGT I3E~'7 121



   ~►v .05114/19 AT   83~ AM    IN CENTRAL ~~S~7R~C~` DEFY" ~2J.

   (:ASE CALLEi~ FOR RESTOl2A'CION HFr41tING
   PAitTIES: RIC~iARD 5. . KEMRLYAN 7.UDGE~ Ei2IKA CABfELA {C~ERKa
                        NONE           REP) N(5NE {QDA)
   DEFEtdDANT IS NqT PItESEW'T IN COEtiiT, aND NOT REPRESENTED 8Y ~GOl1NSEL
      THE NCATTER WAS CA~EIVDAREI3. Ff3F2 '1"41E INCORiiE~i' DATA .ANU WA5 TAKEN
      (}FF-CkLENDAii. .TI3E MR~T?ER I5 CAL~SVI~AREO ~'OR 7Nf CdRR~iC,l' DATE
      AS II~iQICATED BLOW.
   N~lfT SCHEBULEF3 EVEt~[~C:                                                     ..
      05j17/19     830 AM i2ESTORATI(}N #~EARxNG         pIST CENTRAL DISTRICT DEPT ~.z1




   oN {}5/17J19 As    63o any   You Ce~r~a~ ers~rct nE~r ~~i
   EASE CALLED FdR RESTORAT2iJN HEJIRING
   PARTIES: RICHARD S. KEI~IPlLVAfI {7UDGE) ERIiEA CANEi.~ (CLERK)
                          CHR:LSTZNA VRLERY     (REP) TAL !CA#~AlVA {DA)
   DEFENDAR[T IS NE1T PRESEriI~ ZN COURT, BLtT REPRESEIVTE~.B~►' CHANDLER A: PA~KEit
     PfiIVAT~ CaU~iSE[,
     -6DA: TAC I(~tl-IANA

    DEFENSE COUNS~i. IN~~R{41S THE COt1RT THAT 7f~iE 3}EFEiVdANT IS iVOT.
    HERE BECRUSE HE HAD DIFFICULTY LOCATING `CHE DEFEhiDAN7 Blf7
    HA5 WOiAt LdCATED HER. HE STATES fiE DYD A13VISE l'FfE D~FEIJDA?3T THAT
    THE COURT REQUESTS HER APP~AIZAN~E....

    T~[E PEQPLE SATE THE COURT NAS 7URISDICfI~N TO ISSUE A B~P~lC~i
    WARRANT 8UT I?ID NOT CITE ANY CASE E.AW.

    THE MATTER IS GQN7=NU~Q T() MAY ~1, 2g19, Al' $;3t~ A.b1. IN
    ~fEPARTMENT 12~. FOR FURTHER PROCEELlIN~sS.


    THE COURT ORDERS RT7"ORI~lEY CHANDLER A . PARKER TO {1U1/25E THE
    DEFENDAPtf PAUIINE Hl3NTEr~ TO APPE4[t BEFt3dtE 'PHIS COURT IN
    t3EPART~NENT 7.Z]. 41ri THE DATE OF MAY 21, ~q~,~J.
  NEX'i" 5~FttEDilLED EVEN:
    0~/2~f Y9       830 A~w Ft1RTiiER PROCEEDINGS   DIET CEN'I"RAL DTBTRZR QEPT 7.21



  ON 05/21/].9 ~T :830 ~tM IN CENTRAL DISTRICT O PT I2I
  CASE .CALLEa FOR FURTHE(t PitO[EEDII~GS_
  PARTIES: It~ChAFtD 5. KEMAL_YAN (7llpGE) ERIKA CA~IELA         (~~ERK~
                          CHAT5TINa ~1aAl,E~Y       {RER~ TAE.   3C1lFiAlVA (Ud)
  DEFEt3DAN7 IS NCyT RRESEhiT .~N COUE'iT, 3'!7`1" R~YRESEMTED   SY Ci~I~,ND~.ER ft. PAi~KER
    PttIVA'TE. C011~NS~~L
    =Dt}A: TAL KAHANA             FUR'tHEft PR~LEEDIN~Sj6ENCH    WARRANT HCILD
    THE C4tiRT YS IIW~OR1ti(ED 7ti'AT Tt{E DEFEt~iL1~lNT IS SOT FR~5ENT SiJT WAS
Case 2:22-cr-00212-RGK Document 1 Filed 05/17/22 Page 41 of 42 Page ID #:41




   CASE N[?. X4.53787                                                    PAGE FIQ.    7'
   oEF No.      Q2                                                       Df4TE PRT~17E6 Q5/1.1j2~
        xNFfjW~lED T~ ~1RPEAR FOR TF{E hlE4RING ~i~ HER ~(3UiYSEL.

     THE PARTIES S~'A~'~ 7Hi47 7H'~ ~pUR7 FiAS 3Ugz5DTCTZ(7N TO F~RtK~ED
     UP TO. ~UDGNtENT BEING ENTERED EVEN TH(~l3GH ~~"HE MA7TER MAS. BEE(
     ~~v~u ~uasuar~r -rc~ z~ use ~.~ss.tg)t~3
     THE h~L4lTER IS C~NTINItED TO 7UN~ 3, X019, AT' 8c 3(} A,M. Iid
     DE~ARTl~IENT 121. Ft}tt FtfttTWEft PRQC~~bIA1GS.

     THE COURT ISSUES AND HOLDS A BENCH taf,4RRAn4T TO x/3/19.
   NElt7 SCHEDULED EVENT:
     D6/0~/19    $3d AM FURTHER ~R~CEED?N~S      DI5T C~NTRRL DISTRICT DEPT 121



   o~ a~~o~/~.9 ar      63i~ A~1   ray e~Hr~u►~ [~zssRT~r o~~r 123
   CASE_CaALLED.F(JR FURTWER PROCEEDINGS

   PARTIES: RICHARD S. iCEMrALYAH (JUDGE} ~RIiCA CANELA (CLERit)
                        CHRISTINA VALERY          CREP) , TAL KAfiANA (t]A}
   DEFE~ID~hli" IS NOT PRESENT IN CURT, Stl'i" REPRESEh1TEb 8Y CNANDLEFt A.. PAF~I~ER
     PRIVATE COUNSEL
     -DDA: . TAL KAHRNi4       R~AftR~4IGNMENT~ E3EWCN WARRANT HELD
     DE~EMSE COUNSEL 'fE~~PHONICAI.I.Y REQ(fESTS TiD TRAIL 'Tf~E MATTER
     'T~ JUNE 4,:2719, AT $.30 A.M. IN DEPAR7M~NT 1Z1 FOR FURTHER
     PROCEEdING5.
  iVF.XI' :S+CHEDU~ED EVEhIT:
     46/04f13       83C~ AM FURTHER PROCEEJ~~NG5  KIST CENTRAL DISTxiIC~'.DEPT 1~1



  ON 06~~?Q~~1.$ ~t7   83{I AM     IN C~ltitTltllL IITSTRICF REP'S X21
  6115E .GALLED FOR FURTHER PR€ICEEDIhf65
  PARTIES: RICHARD 5. KEMALYAN (~tJDGE} ~FtIKA CAtdEEA (CLERK)
                      CHRISTINA V11i.ERY    (RED) 7AL KAHANA. tai!).
  THE DEFENOA~ SAILS TO APPEAR, WITHOUT" 5U~FI'C~ENT E1CCU5~ AND REPRESENlTEt7 BY
    CHANf3LEf~ A. PARKER Pit1VAT~ CDUNSEt~

    MAT!'Ei~ ~5 CAk~LED FOR HE,4RIf~6 ANII THE DEF~EE~~N'i' ~A~LS TO APp'EAR.

    BEN~}1 WlhRRAh£Fy QRDEItEt~ QN 05~Z1f 7.9 AivD HELD TCi THIS
    DATE, IS NBiN I~RDERED ISSUED.

    THE. COURT f?I~DEt~S A S~NCN MtaRRANT I55UE!}. BAiL IS SET ~N 'Ti~IIE
    ANIOt1{~T O~ $200,fl0~.                      .
    r
    DEFEldSE COUNSEL INFORMS THE CCfURT .~HA'f N~ iM;LLL BE ASKED T43 8E
    RELIEVED. ONCE "f'F!E 6E~~NDANT T5 RE-A~tR~IIGNED.
  NEXT SCFdEDULED EVENT:
  BF3~iCHf1dARRANT I55U~d

  0&/Q4~I9 BENCH WARRA(YT IN 7HE ANtAU1V'i' Q~ $zfl0,pC0.UQ BY gftaER C3F JUDGE RIC}i~tR~
         s. ,~~+~.:~rA~ ~~ssu~Q. Ca~ro~~~.9) .
  1.~I1.7II.9 BENCH WARRANT ~N THE AMOUNT OF          ~z~o,o~t~.00       ~~r,~~~~~. ~~.z117/is).
Case 2:22-cr-00212-RGK Document 1 Filed 05/17/22 Page 42 of 42 Page ID #:42




                                                                     PAGE ~O.   S
   CASE Na.. BA4537$7                                                DATE PRI~~Ed OS/11fZ2
   ~E.F NO. ~1

                                                                  ~~ 3UDGE RI~HA~~
   0~/04/1g BENIN WA~RAN'C T~ THE AMUUNT OF ~~00~000::04 8Y ~RbER
       ~. lC~PA~ILYAR E ISSUEi}. ~~.z/1r /~~.
   ti~~z~./~a   BEIVCN WAitRANT IN THE AhK3UNT OF $247t},aoo~o~      ~~c~a~~.~~. Ctrs/za.Izo~-
   ~6f04/3.9 BENCH 1~'ARRANT IN THE A~AOUi~T ~F $20~,000.~(~ BY QRDER bF ]U6GE RY~CHARD
        s. rc~~~.Yara zs5u~. (o?~21Jzt3}.
   ~~/~Z~~a     BENCH WARRAMf IN THE AMOUNT OF $.ZOU,~oo.:oo         RE~PrL4.~D.   (07/~1/z0~,
   ~!~/€~~4~I9 BFCVCH WARRAN`i; IN TNT AM~EINT OF $~4a,00ti.40 BY +?BOER OF BUDGE RI~liARD
         5. KEMALYpH ORDEREpfISS(3Ei1. (07/21/03.



   ON OSfYIJ22 !d~" $30 ikf~+l   IN GENTRl1i. D~S~'R~CT DEP'~ 12Y


     CASE CA~.LED Ft3R BENCH WARRANT H~AitING
     PARl'ZES: RiCHAR.D S. KHNL4LYAN (3UDGE} ►~ELVIh1 Fi(3AN6 (CLERK)
                               NONE         (R~P~ TAL KAHANA (DA~
   ~:DEFE ND{~t~1T IS. , RIOT. PRESENT  Ihf COURTr  AWQ NOT liEPi2E5EMFED BY COUNSEL
     BAIL S~"1` AT S~i~Q,;~00
        THE COl1RT I5 It+lFOFEN1Ei1~ :TWE DEFBNDAN~t' IS PLIVD~NG COVIi7 RESULTS
        Ah1D i3AS ~f37 BEEN CLEARED FOR 'Ttt/IiVSPCfRT. T~tE P1~ITTER I5 CON7~NU~D
        FOl~ BENCR WAR1iAiVT HEARI~IC; 8N P4AY 17, 202 .
        AT. 8.311 A.IW. , .T.Pf DEPARTM~Nf i2a.,
     {NEXT SCHEDULED EVEidT:
        fl5f17/ZZ      $30. AM BENC}i ~NARRAl~1"~ i~EARIN~    DI57. CENTRAL QISTK.ZC(' DEpT 1.21

   CUSTODY STATtlS: DEFENDANT R~NI]ED.
